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 0                                       UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF CALIFORNIA


    Name of Debtor:      L xO orr                                           rCase No.



    Last four digits of Soc. Sec. No.: XXX-XX-
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    Last four digits of Soc. Sec. No.: XXX-XX-
                                                                                                       JAN I 82023
                                                       CHAPTER 13 PLAN                         UNITED STATES BANKRUPTCY cour
                                                                                                EASTERN DISTRICT OF CALIFORNIA
                                                          Section 1. Notices

    1.01. Use of this form is mandatory. The Bankruptcy Court of the Eastern District of California requires the use of this
           local form chapter 13 plan in lieu of any national form plan. This Plan shall be filed as a separate, document.

    1.02. Nonstandard provisions. Any nonstandard provision is in section 7 below. If there are nonstandard provisions
           this box must be checked fl A nonstandard provision will be given no effect unless this section indicates one is
           included in section 7 and it appears in section 7.

    1.03. No alterations to form plan permitted. Other than to insert text into designated spaces, expand tables to
           include additional claims, or to change the plan title to indicate the date of the plan or that it is a modified plan, the
           preprinted text of this form shall not be altered. No such alteration will be given any effect.

    1.04. Valuation of collateral and lien avoidance requires a separate motion. Unless there is a nonstandard
           provision in section 7 requesting such relief, the confirmation of this plan will not limit the amount of a secured
           claim based on a valuation of the collateral for the claim, nor will it avoid a security interest or lien. This relief
           requires a separate claim objection, valuation motion, or lien avoidance motion that is successfUlly prosecuted in
           connection with the confirmation of this plan.

    1.05. Separate notice of confirmation hearing. You will receive a separate notice of the date, time, and location of a
            hearing to confirm this plan and of the deadline to object to its confirmation. In the absence of a' timely written
            objection the plan may be confirmed without a hearing It will be effective upon its confirmation

                                           Section 2. Plan Payments and Plan Duration

    2.01. Monthly plan payments. To complete his plan, Debtor shall submit to the supervision and'control of Trustee on
           a monthly basis the sum of $ØC0 C) from future earnings. This monthly plan payment is sUbject to
           adjustment pursuant to section 3.07(b)(2) below and it must be received by Trustee not later than the 251h day of
           each month beginning the month after the order for relief under chapter 13. The monthly plan payment includes
           all adequate protection payments due on Class 2 secured claims.

    202. Other payments. In addition to the submission of future earnings, Debtor will make payment(s) derived from
           property of the bankruptcy estate, property of Debtor, or from other sources, as follows:


    2.03. Duration of payments. The monthly plan payments will continue for               months unless aD alwed unsecured
           claims are paid in full within a shorter period of time. If necessary to complete the plan, month lypayments may
           continue for an additional 6 months, but in no event shall monthly payments continue for more than 60 months.

                                                  Section 3. Claims and Expenses
                                                                                                              I
    A Proofs of Claim

    3.01. With the exception of the payments required by sections 3.03, 3.07(b), 3.10, and 4.01, a claim ill not be paid
           pursuant to this plan unless a proof of claim is filed by or on behalf of a creditor, including a secured creditor.

    3.02. The proof of claim, not this plan or the schedules, shall determine the amount and classifiôation'f a claim unless
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             the court's disposition of a claim objection, valuation motion, or lien avoidance motion affectsthe amount or
             classification of the claim.

    3.03.    Post-petition amounts due on account of a domestic support obligation, a loan from retiremeln'for, thrift savings
             plan, or an executory contract/unexpired lease being assumed, shall be paid by Debtor direótly to the person
             entitled to such payments whether or not the plan is confirmed or a proof of claim has been fiIed

    B Administrative Expenses

    3.04. Trustee's fees. Pursuant to 28 U.S.C. § 586(e), Trustee shall receive up to 10% of plan payments, whether made
            before or after confirmation, but excluding direct payments by Debtor on class 4 claims, executory contracts and
            unexpired leases and obligations of the kind described in section 3.03.

    3.05. Debtor's attorney's fees. Debtor's attorney w,Id               $____
                                                                                      prior to the filing of the case. Subject to
           prior court approval, additional fees of    $                 shall be paid through this plan. Debtor's attorney will
           seek the court's approval by [choose one]:       complying with Local Bankruptcy Rule 2016-1(c);.o           filing and
           serving a motion in accordance with 11 U.S.-C7 §§ 329 and 330, Fed. R. Bankr. P.2002, 2016, and 17 [if neither
                                                               .


           alternative is selected, the attorney shall comply with the latter].

    3.06. Administrative expenses. In accordance with sections 5.02 and 5.03 below, $                 of eh monthly plan
           payment shall be paid on account of: (a) compensation due a former chapter 7 trustee; (b) approved
           administrative expenses; and (c) approved attorney's fees. Approved administrative expenses shall be paid in full
           through this plan except to the extent a claimant agrees otherwise or 11 U.S.C. § 1326(b)(3).(,113) is applicable.

    C Secured Claims                                                                                        1

    3.07. Class I includes all delinquent secured claims that mature after the completion of this plan, including
           those secured by Debtor's principal residence.

             (a) Cure of defaults. All arrears on Class 1 claims shall be paid in full by Trustee. The equal onthly installment
             specified in the table below as the "arrearage dividend" shall pay the arrears in full.

                           Unless otherwise specified below, interest will accrue at the rate of 0%.

                            The arrearage dividend must be applied by the Class I creditor to the arrears. lf'hi'plan provides for
                        interest on the arrears, the arrearage dividend shall be applied first to such interest, ther! to the arrears.

             (b) Maintaining payments. Trustee shall maintain all post-petition monthly payments to the holder of each Class
             I claim whether or not this plan is confirmed or a proof of claim is filed.

                        (1) Unless subpart (b)(1)(A) or (B) of this section is applicable, the amount of a post-petition monthly
                        payment shall be the amount specified in this plan

                                     If the amount specified in the plan is incorrect, the Class I creditor may deriand the correct
                                amount in its proof of claim. Unless and until an objection to such proof of claim is sustained, the
                                trustee shall pay the payment amount demanded in the proof of claim.

                                    Whenever the post-petition monthly payment is adjusted in accordance with:the underlying
                                loan documentation, including changes resulting from an interest rate or escrow, account
                                adjustment, the Class 1 creditor shall give notice of the payment change pursuant to Fed. R.
                                Bankr. P. 3002.1(b). Notice of the change shall not be given by including the change in a proof of
                                claim. Unless and until an objection to a notice of payment change is sustained, the trustee shall
                                pay the amount demanded in the notice of payment change.

                        (2) If a Class 1 creditor files a proof of claim or a notice of payment change pursuant toFed. R. Bankr. P.
                        3002.1(b) demanding a higher or lower post-petition monthly payment, the plan payment shall be adjusted
                        accordingly.

                        (3) If Debtor makes a partial plan payment that is insufficient to satisfy all post-petition monthly payments
                        due each Class 1 claim, distributions will be made in the order such claims are listed below.

                        (4) Trustee will not make a partial distribution on account of a post-petition monthlypayrnent.

                        (5) If Debtor makes a partial plan payment or if it is not paid on time and Trustee is inable to make
                        timely a post-petition monthly payment, Debtor's cure of this default shall include any late charge.
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                         If the holder of a Class I claim gives Debtor and Trustee notice of post-petition fe.és expenses, and
                    charges pursuant to Fed. R. Bankr. P. 3002.1(c), Debtor shall modify this plan if Debtor.wishes to provide
                    for such fees, expenses, and charges.

                        Post-petition monthly payments made by Trustee and received by the holder of.àClàss 1 claim shall
                    be applied as if the claim was current and no arrearage existed on the date the case was filed.

           (c) No claim modification and lien retention. Each Class 1 creditor shall retain its lien. Other than to cure of
           arrears, this plan does not modify Class 1 claims.


                  Class I Creditor's Name!               Amount of Arrears   Interest Rate         Arrearage               Post-Petition
                   Collateral Description                                     on Arrears           Dividend               Monthly Payment

     iL G f'vco( /L/c(Q                                         3(L2 —



                                                                                     Totals:   $                          •




    3.08. Class 2 includes all secured claims that are modified by this plan, or that have matured or will mature
           before the plan is completed.                                                           :..

           (a) Payment of claim. Subject to section 3.08(c), the "monthly dividend" payable to each Clâss2A and 2B claim
           is an equal monthly payment sufficient to pay each claim in full with interest at the rate specified.' below. If no
           interest rate is specified, a 5% rate will be imputed.

           (b) Adequate protection payments. Prior to confirmation, Trustee shall pay on account ofeach Class 2(A) and
           2(B) claim secured by a purchase money security interest in personal property an adequate protection payment if
           required by section 1 326(a)(1 )(C). The adequate protection payment shall equal the monthly dividend. Adequate
           protection payments shall be disbursed by Trustee in connection with the customary month-end disbursement
           cycle beginning the month after the case was filed. If a Class 2 claimant is paid an adequate, protection payment,
           that claimant shall not be paid a monthly dividend for the same month.

           (c) Claim amount. The amount of a Class 2 claim is determined by applicable nonbankruptcy, iw. However,
           except as noted below, Debtor may reduce the claim amount to the value of the collateral securing it by filing,
           serving, setting for hearing, and prevailing on a motion to determine the value of that collateral. If this plan
           proposes to reduce a claim based upon the value of its collateral, the failure to successfully prosecute a valuation
           motion in conjunction with plan confirmation may result in the denial of confirmation.

                        Class 2 claims that cannot be reduced based on value of collateral. Debtor is prohibited from
                    reducing a claim if the claim holder has a purchase money security interest and the claim either was
                    incurred within 910 days of the filing of the case and is secured by a motor vehicle acquired for the
                    personal use of Debtor, or was incurred within 1-year of the filing of the case and is seôUred by any other
                    thing of value. These claims must be included in Class 2(A).

                       Class 2 claims that may be reduced based on the value of their collateral shall be included in
                    Class 2(B) or 2(C) as is appropriate.

                        Class 2 claims secured by Debtor's principal residence. Except as permitted b'yl I U.S.C. §
                    1322(c), Debtor is prohibited from modifying the rights of a holder of a claim securedonly by Debtor's
                    principal residence.

           (d) Lien retention. Each Class 2 creditor shall retain its existing lien until completion of the p!añ and, unless not
           required by Bankruptcy Court, entry of Debtor's discharge.                                           '.




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     Class 2 Creditor's name and                        Purchase money        Amount claimed          Value of              interest      Monthly
     description of collateral                         security interest in     by creditor          creditor's               Rate        Dividend
                                                       personal property?                          interest In Its
                                                            YES/NO                                   collateral

     Class 2(A) claims are not reduced based                                                                           -.


     on value of collateral



     2.




     3

                                                                                                                                Total $



     Class 2(13) claims are reduced based on
     value of collateral




                                                                                                                                Total $


     Class 2(C) are claims reduced to $0 based
     on value of collateral

                                                                                                              $0.00               0            $0.00

                                                                                                              $0.00•              0             $0.00

                                                                                                                                                $0.00


    3.09. Class 3 includes all secured claims satisfied by the surrender of collateral.

                     Class 3 Creditor's Name/Collateral Description                  Estimated Deficiency        Is Deficiency a Priority Claim?
                                                                                                                            YES/NO



     2.


    3.10.    Class 4 includes all secured claims paid directly by Debtor or third party. Class 4 claims mature after the
             completion of this plan, are not in default, and are not modified by this plan. These claims shall be paid by Debtor
             or a third person whether or not a proof of claim is filed or the plan is confirmed.

                Class 4 Creditor's Name/Collateral Description                Monthly Contract Installment           Person Making Payment




    3.11.    Bankruptcy stays.

                 Upon confirmation of the plan, the automatic stay of 11 U.S.C. § 362(a) and the co-debtor stay of 11 U.S.C. §
             1301(a) are (1)terminated to allow the holder of a Class 3 secured claim to exercise its rightgainst its collateral;
             (2) modified to allow the holder of a Class 4 secured claim to exercise its rights against its collateral and any
             nondebtor in the event of a default under applicable law or contract; and (3) modified to allow the nondebtor party
             to an unexpired lease that is in default and rejected in section 4 of this plan to obtain possession of leased
             property, to dispose of it under applicable law, and to exercise its rights against any nondebtor.. 4

                Secured claims not listed as Class 1, 2, 3, or 4 claims are not provided for by this plan. While this may be
             cause to terminate the automatic stay, such relief must be separately requested by the claim,holder.

                 If, after confirmation of the plan, the court grants a motion to terminate the automatic stay to permit a Class 1
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             or 2 claim holder to proceed against its collateral, unless the court orders otherwise, Trustee shall make no further
             payments on account of such claim and any portion of such claim not previously satisfied under this plan shall be
             satisfied as a Class 3 claim. Any deficiency remaining after the creditor's disposition of its collateral shall be
             satisfied as a Class 7 unsecured claim subject to the filing of a proof of claim.

    D. Unsecured Claims

    3.12.    Priority claims. Class 5 consists of unsecured claims entitled to priority pursuant to 11 U.SC § 507, such as
             taxes, approved administrative expenses, and domestic support obligations.

                Priority claims other than domestic support obligations will be paid in full except to the exténtihe claim holder
             has agreed to accept less. When the claim holder has agreed to accept less than payment in full, the claim holder
             and the treatment of the claim shall be specified in section 7, the Nonstandard Provisions.

                Priority claims that are domestic support obligation shall be paid in full except to the extent 1 U.S.C. §
             1322(a)(4) is applicable. When section 1322(a)(4) is applicable, the claim holder and the treatment of the claim
             shall be specified in section 7, the Nonstandard Provisions.

                 Debtor estimates that all priority claims, not including those identified in section 7, total     $_______________




    3.13. Class 6 includes designated nonpriority unsecured claims, such as co-signed unsecured, dbts, that will be
            treated differently than the other nonpriority unsecured claims provided for in Class 7. The clèini holder of each
            Class 6 claim and the treatment of each claim shall be specified in section 7, the Nonstandard Provisions.

    3.14. Class 7 consists of all other nonpriority unsecured claims not provided for in Class 6. These claims will
           receive no less than a                    %dividend. These clairncJu,iji he under-collateralized portion of
           secured claims not entitled to priority, total approximately $. w_
                                                                            ,                .




                                       Section 4. Executory Contracts And Unexpired Leases

    4.01. Debtor assumes the executory contracts and unexpired leases listed below. Debtor shall pay diçectly to the other
            party to the executory contract or unexpired lease, before and after confirmation of this plan and;whether or not a
            proof of claim is filed, all post-petition monthly payments required by the lease or contract. Unless a different
            treatment is required by 11 U.S.C. § 365(b)(1) and is set out in section 7, the Nonstandard Proviions, pre-petition
            arrears shall be paid in full. Trustee shall pay the monthly dividend specified in the table below on account of
            those arrears.

    4.02. Any executory contract or unexpired lease not listed in the table below is rejected.

       Name of Other Party to Executory Contract! Unexpired Lease   Post-Petition Monthly   Pre-petition Arrears       'Tearage Dividend
                                                                          Payment



      2.

                                                                                                           lotal$.


                                       Section 5. Payment of Claims and Order of Distribution

    5.01. After confirmation, payments by Trustee to holders of allowed claims and approved expen                       lbe made
            monthly.

    5.02. Distribution of plan payment.

                At a minimum, each monthly plan payment must be sufficient to pay in full: (i) Trustee's fees; (ii) post-petition
             monthly payments due on Class 1 claims; (iii) the monthly dividend specified in section 3.06 for administrative
             expenses; and (iv) the monthly dividends payable on account of Class 1 arrearage claims, Class 2 claims, and
             executory contract and unexpired lease arrearage claims.

                If the amount paid by Debtor is insufficient to pay all of the minimum dividends required b,sctlon 5.02(a),
             Trustee shall pay, to the extent possible, such fees, payments, expenses, and claims in the Qrdêr specified in
             section 5.02(a)(i) through (iv). If the amount paid by Debtor is insufficient to pay all dividends due on account of
             fees, payments, expenses, and claims within a subpart of section 5.02(a), no dividend shall béiaid on account of
             any of the fees, payments, expenses, and claims within such subpart except as permitted bisection 3.07(b)(3).
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                  Each month, if funds remain after payment of all monthly dividends due on account of the fees, payments,
              expenses, and claims specified in section 5.02(a)(i) through (iv), the remainder shall be paid prorata, first to
              holders of Class I arrearage claims, Class 2 claims, and executory contract and unexpired lease arrearage
              claims; second to Class 5 priority claims; third to Class 6 unsecured claims; and fourth to Clàss7 unsecured
              claims

                 Over the plans duration, distributions must equal the total dividends required by sections 3O4, 3.06, 3.07, 3.08,
              3.12, 3.13,3.14,and 4.01. The case may be dismissed if Debtors plan payments are or will be insufficient to pay
              these dividends

    5.03. Priority of payment among administrative expenses. The portion of the monthly plan payment allocated in
            section 3.06 for administrative expenses, shall be distributed first to any former chapter 7 trustee up to the monthly
            amount required by 11 U.S.C. § 1326(b)(3)B), and second to holders of approved administrative, expenses on a
            pro rata basis.

                                                Section 6 Miscellaneous Provisions

    6.01. Vesting of property. Property of the estate [choose one] shall        LI
                                                                                shall notLI revest in Debtor upon
           confirmation of the plan. In the event the case is converted to a case under Chapters 7, 11, or 12 of the
           Bankruptcy Code or is dismissed, the property of the estate shall be determined in accordance with applicable law.

    6.02. Debtor's duties. In addition to the duties imposed upon Debtor by the Bankruptcy Code, the Bankruptcy Rules,
           and applicable nonbankruptcy law, the court's Local Bankruptcy Rules impose additional duties çn Debtor,
           including without limitation, obtaining prior court authorization prior to transferring property or. incurring additional
           debt, maintaining insurance, providing Trustee copies of tax returns, W-2 forms, 1099 forms, and quarterly
           financial information regarding Debtor's business or financial affairs, and providing Trustee not later than the 14
            days after the filing of the case with the Domestic Support Obligation Checklist for each domestic support
            obligation and a Class I Checklist and Authorization to Release Information for each Class 1 claim.

    6.03.     Post-Petition claims. If a proof of claim is filed and allowed for a claim of the type described in-1 1 U.S.C. §
              1305(a), this plan may be modified to provide for such claim.

    6.04. Remedies upon default. If Debtor defaults under this plan, or if the plan will not be completed Within six months
           of its stated term, not to exceed 60 months, Trustee or any other party in interest may request appropriate relief by
           filing a motion and setting it for hearing pursuant to Local Bankruptcy Rule 9014-1. This relief may consist of,
           without limitation, dismissal of the case, conversion of the case to chapter 7, or relief from the automatic stay to
           pursue rights against collateral.                                                                :

                                                 Section 7. Nonstandard Provisions

    Debtor may propose nonstandard provisions that modify the preprinted text of this form plan. All nonsi ndard plan
    provisions shall be on a separate piece of paper appended to this plan. Each nonstandard provisions 311-- be identified by
    a section number beginning with section 7.01 and indicate which section    f the form plan are módifi iby the
    nonstandard provision. Nonstandard provisions placed elsewhere are         The signaj,ns below ar ertificaJons by
                                                                                     .


    Debtor and Debtor's attorney that this plan form has not been altere and that all no t dard pr visi     ar'iry'section 7.

    Dated:
                                                                 Debtor            /

    Dated
                                                                 Is/
                                                                 Debtor


    Dated
                                                                 Is!
                                                                 Debtor's Attorney




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